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                              IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,

                            Plaintiff,

vs.                                                       Case No. 19-40091-DDC-ADM

JARRETT SMITH,

                            Defendant.

                                          DETENTION ORDER

A.       Order for Detention

        After conducting a detention hearing pursuant to 18 U.S.C. § 3142(f) on September 26, 2019, the
undersigned U.S. Magistrate Judge Angel D. Mitchell, ordered the defendant, Jarrett Smith, detained
pursuant to 18 U.S.C. §§ 3142(f)(1)(A) & (E) for the reasons set forth more fully on the record at the
detention hearing. This order is intended to memorialize the court’s ruling.

B.       Statement of Reasons for Detention

As the ultimate reason(s) for detaining defendant, the court finds:

      ☒ by a preponderance of the evidence, that no condition or combination of conditions will
         reasonably assure the appearance of defendant as required.

      ☒ by clear and convincing evidence, that no condition or combination of conditions will reasonably
         assure the safety of any other person or the community.

C.       Findings of Fact

        The court’s findings in connection with the decision to detain defendant are based on the
evidence presented during the detention hearing, and information contained in the pretrial services
report, including the following:

      ☒ (1) Nature and circumstances of the offense(s) charged in the present case:
            ☒ (a)     The offense(s) as described in the Affidavit in Support of the Criminal Complaint
                        and related evidence and arguments at the detention hearing.
             ☒ (b)      The offense is a crime of violence.
             ☒ (c)      The offense involves a firearm, explosive, or destructive device.

      ☒ (2) The record indicates the Government has a strong case against defendant, including
             documentary evidence to support the facts and, as to the intent-based aspects of the charges,
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       based on the Defendant’s pre-arrest, post-Miranda interview, during which he reportedly
       stated as follows:

              He gives information out freely to people who may use it for harm, for
              the glory of Quayinism, and his religion of anti-kosmik Satanism. He
              wants to cause chaos, as it brings back he realm of his religious beliefs,
              through the destruction of the universe. He said he will provide
              information to people who ask, as it furthers his beliefs. . . . SMITH
              said the idea of chaos in the world is a disruption and he can be an agent
              of chaos by enabling people with his knowledge. SMITH said that if
              the death of people isn’t affecting him, then he doesn’t see an issue.
              SMITH said that if chaos results in the death of people, and he provided
              information to them, it doesn’t affect him.

☒ (3) The history and characteristics of defendant, including:

       (a) General factors:

       ☒ Defendant appears to be a person of troubling character and mental condition.
       ☒ Defendant has no significant family ties in the area.
       ☒ Defendant is employed by the Army. If he were to return to Ft. Riley, it could place
         others in the Ft. Riley community at risk, including those charged with ensuring his
         safety.
       ☒ Defendant is not a long-time resident of the community and does not have significant
         community ties. He has no real ties to Kansas other than the Army, he has been stationed
         at Ft. Riley for only a few months, and he may face separation as a result of the present
         offense. He has indicated an intention to leave the country if and when he leaves the
         Army. Specifically, in 2016, before he joined the Army, he had a social media
         conversation about his desire to travel to the Ukraine to fight with the violent far-right
         paramilitary group Azov Battalion. At that time, he was advised that, if he did so, he
         would be expected to kill. Years later, he stated that after his Army contract ends he
         intends to join the Azov Battalion (notably, after being told that he would be expected to
         kill if he did so), Right Sector Volunteer Corps, or to aid one of the organizations fighting
         ISIS in the Middle East.
       ☒ Past conduct of defendant. On April 3, 2018, he sent a text message saying that “[o]n my
         bucket list is to KO an antifa member.” In more recent months, he engaged in numerous
         text and social media conversations in which he provided specific, detailed directions
         about how to build and detonate explosives, many of which an FBI bomb technician said
         were viable and/or “not far off.” In these, defendant discussed things such as looking for
         more “radicals” like himself; killing and targeting members of the far-left group Antifa,
         including a specific address of a particular Antifa member; and destroying cell towers,
         news stations and networks.
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       (c) Other factors:

           ☒ The court is mindful that it is required to impose the least restrictive conditions necessary
               to reasonably assure both (1) the safety of others, and (2) that the Defendant will appear
               at later proceedings in this case. To that end, the court has considered Defendant’s lack
               of criminal record and Defendant’s argument that he should be released on bond subject
               to conditions of release. However, based on the findings set forth above, the court is not
               persuaded that it can impose any condition or combination of conditions of release that
               will reasonably assure that, if defendant were released, he would not pose a danger to
               others and would appear as required in this case. Ultimately, the court gives heavy
               weight to the serious risk of danger to others if Defendant were released, which appears
               substantial and palpable.

D.     Additional Directives

        Pursuant to 18 U.S.C. §§ 3142(i)(2)-(4), the court directs defendant be committed to the custody
of the Attorney General for confinement in a corrections facility separate, to the extent practicable, from
persons awaiting or serving sentences or being held in custody pending appeal. Defendant shall be
afforded reasonable opportunity for private consultation with counsel of record in this case. On order of
a court of the United States, or on request of any attorney for the Government, the person in charge of
the corrections facility in which defendant is confined shall deliver defendant to a United States Marshal
for the purpose of an appearance in connection with a court proceeding.



Dated: September 27, 2019
                                                 s/Angel D. Mitchell
                                                 Angel D. Mitchell
                                                 U.S. Magistrate Judge
